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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:21−cr−00392
                                                         Honorable Mary M. Rowland
Edmond Harris, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 5, 2025:


       MINUTE entry before the Honorable Mary M. Rowland as to Joshua Walker:
Sentencing hearing held. Judgment to follow. The clerk's office is directed to seal entry
[191]. Mailed notice. (jg, )




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